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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


VELMA M. MELTON,

       Plaintiff,

       v.

SELECT PORTFOLIO SERVICING, INC.,
STERLING JEWELERS, INC.
dba Jared-Galleria of Jewelry,
                                                           Civil Action No. TDC-19-0209
PRESTIGE FINANCIAL SERVICES, INC.,
EXPERIAN INFORMATION SOLUTIONS,
INC.,
EQUIFAX INFORMATION SERVICES, LLC
and
TRANS UNION, LLC,

       Defendants.



                                              ORDER

       Pursuant to the Court’s Order, Plaintiff Velma M. Melton and Defendant Sterling

Jewelers, Inc. (“Sterling”) have filed a Joint Status Report stating that even though Melton has

filed a Second Amended Complaint, Sterling’s ripe and pending Motion to Dismiss for Lack of

Personal Jurisdiction, ECF No. 31, applies to the Second Amended Complaint. However,

because the Second Amended Complaint adds a defamation claim, Sterling seeks to file a brief

supplement to its Motion addressing why the Court lacks personal jurisdiction over that claim as

well. Upon consideration of the Joint Status Report, it is hereby ORDERED that:

       1. Sterling may file a supplemental memorandum in support of its pending Motion to

             Dismiss within 14 days of the date of this Order.

       2. Melton may file a supplemental response to Sterling’s memorandum within 14 days

             of its filing.
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       3. Both memoranda shall be limited to five pages each and shall only address personal

          jurisdiction over the new defamation claim. Any arguments unrelated to the new

          defamation claim shall be STRICKEN.



Date: July 26, 2019                                             /s/
                                                 THEODORE D. CHUANG
                                                 United States District Judge




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